Exhibit 3
                              CERTIFICATE OF TRANSLATION


I, Bingjie Liu, an attorney licensed in the State of New York (United States) and a court-certified

interpreter of the State Court of the State of New York, am competent to translate from Chinese

into English, and certify that the translation of documents attached to this certificate is true and

accurate to the best of my abilities.




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Bingjie Liu



Date: 6/22/2023
   Urgent Report on the Request to Restore the Original Business Registration Files of NetQin
                                            Infinity


Beijing Haidian District Bureau of Industry and Commerce,


NetQin Infinity (Beijing) Technology Co., Ltd’s (hereinafter NetQin) full set of business
registration files were recently changed illegally. This act not only seriously violated the legitimate
rights and interests of the company and its shareholders, but also led to the total paralysis of the
company’s operation, the interruption of paying social security for employees, and the suspension
of paying approximately 100 employees’ salaries. This further created the risk of serious mass
public crisis! Beijing NetQin and its controlling shareholders jointly report to your bureau urgently,
seeking the leadership to give great attention to restoring the original business registration files.
The detailed facts as following:
Beijing NetQin was established in 2007, Link Motion International Limited (hereinafter Hong
Kong Link Motion) holds 100% of Beijing NetQin’s shares. Link Motion Inc (hereinafter Cayman
Link Motion) holds 100% Hong Kong Link Motion’s shares. China AI (hereinafter China AI)
holds 12% Cayman Link Motion Shares and enjoys 56% voting rights.
Lilin Guo, a small shareholder of Cayman Link Motion (holding 1% shares), In order to achieve
the illegal purpose of appropriating the company's assets, hired Hong Kong lawyers to create false
documents to deceive the business registration authorities and turned himself into the legal
representative of the Beijing NetQin without the knowledge of China AI, Cayman Link Motion.
Hong Kong Link Motion and all other shareholders. He also replaced the company's business
license, official seal, financial seal, tax registration, and other full set of business documents and
actually controlled these documents.
In order to protect the legitimate rights and interests of the company and its shareholders, China
AI, Cayman Link Motion, Hong Kong Link Motion, acting in concert, has taken the following
measures:
1.      The shareholders' meeting and the board of directors of Hong Kong Link Motion were
convened and a decision was made: (1) to confirm that the change of the legal representative,
license, official seal and other business registrations of Beijing NetQin that was arranged by Lilin
Guo was an illegal and invalid act; (2) authorize Wenyong Shi, the executive director of Hong
Kong Link Motion to restore the original business registration files for Beijing NetQin; (3) filing
related legal actions, complaints, reports, and charges.
2.      Filed a lawsuit in court against Lilin Guoin for a dispute over the change of business
registration.
3.     Retained overseas counsel to bring civil and criminal actions against Lilin Guoin before
the Cayman and Hong Kong courts.
4.      Collect evidence related to Lilin Guo’s embezzlement and fraud and report it to the public
security authorities.
Based on the above, in order to prevent Lilin Guo from taking further illegal actions and
encroaching on the legitimate rights and interests of Beijing NetQ and causing social instability
events, we apply to your bureau urgently as follows:
1.      Revoke the business license issued to Beijing NetQin that indicating Lilin Guo as the
legal representative and change the it back to the original legal representative, Zemin Xu.
2.      Request Lilin Guo to turn over the self-prepared company official seal and financial seal.
3.       Request Lilin Guo to appear before the Bureau of Industry and Commerce to explain his
illegal activities, immediately stop all illegal activities that interfere with the operation of Beijing
NetQin, and be responsible for compensation.
Attachments:


1.     Corporate Structure and Supporting Documents
2.     Hong Kong Link Motion’s shareholder resolution, and board of directors resolution
(Chinese and English)
3.     The Court’s acceptance notice.
4.     Overseas counsel’s engagement letters (working emails, and engagement letters).
